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           3L£^ UNITED STATES DISTRICT COURT
    :°-°^&
    ^ -^^ ' WESTERN DISTRICT OF LOUISIANA
                                                                           2:21-cr-00284-1
                                      LAKE CHARLES DIVISION J             ge James D Cain, Jr
                                                                                             Kathleen Kay
          UNITED STATES OF AMERICA * CRIMINAL NO.
                                    * 18 U.S.C. §§ 922(g)(l), 924(a)(2), 924(d)
                                                  * 28U.S.C.§2461(c)
          VERSUS                                  *
                                                  *

          ROBERT EDWARD WRIGHT                    *



                                             INDICTMENT

          THE GRAND JURY CHARGES:

                                                COUNT 1

                    POSSESSION OF A FIREARM BY A PROHIBITED PERSON
                               [18 U.S.C. §§ 922(g)(l), 924(a)(2)]

                  On or about the 6th day of August, 2020, within the Western District of

          Louisiana, the defendant, ROBERT EDWARD WEIGHT, knowing that he had been

          convicted of a crime punishable by imprisonment for a term exceeding one year, did


          knowingly possess in and affecting interstate commerce firearms, to wit: one Smith


          & Wesson Model M&P 9 Shield 9 caliber semi-automatic pistol bearing serial number

          JCE5860 and one Remington Model 770 30-06 caliber rifle bearing serial number

          M72111581, all in violation of Title 18, United States Code, Sections 922(g)(l) and

          924(a)(2) [18 U.S.C. §§ 922(g)(l) and 924(a)(2)J.

                                    FORFEITURE ALLEGATION
                              18 U.S.C. § 924(d) and 28 U.S.C. § 246Uc)

                  1. The allegations contained in Counts 1 of this Indictment are hereby

          re-alleged and incorporated by reference for the purpose of alleging forfeitures
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pursuant to Title 18, United States Code, Section 924(d) and Title 28, United

States Code, Section 2461(c).

      2. Upon conviction of the offenses charged in Counts 1 of this

Indictment, the defendant, ROBERT EDWARD WRIGHT, shall forfeit to the

United States pursuant to Title 18, United States Code, Section 924(d) and

Title 28, United States Code, Section 2461(c), any firearms involved in the

commission of the offense, including, but not limited to:

            a. Smith & Wesson Model M&P 9 Shield 9 caliber semi-automatic

                   pistol bearing serial number JCE5860;

            b. Remington Model 770 30-06 caliber rifle bearing serial number

                   M72111581;
            c. Six rounds of Hornady 9-millimeter ammunition;

            d. Three rounds ofRemington 30-06 caliber ammunition.

                                      A TRUE BILL:


                                      REDACTED
                                      GRAND JURY FOREPERSON

ALEXANDER C. VAN HOOK
Acting United States Attorney



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